Case 6:14-cr-06038-EAW-JWF Document 396-4 Filed 01/22/19 Page 1 of 10




                      Exhibit D
              Case 6:14-cr-06038-EAW-JWF Document 396-4 Filed 01/22/19 Page 2 of 10




From: Thor Arne Kleppan <tak@nsw.no>
Date: Tue, Dec 4, 2018 at 8:08 PM
Subject: RE: Tree of Tènèrè
To: Alexander Green <alex@symmetrylabs.com>
Cc: Aaron Oppenheimer <aaron@symmetrylabs.com>, Erik Bøhler <erik.bohler@scd.no>, Ysiad Ferreiras
<ysiad@symmetrylabs.com>, kim.falster@constructive.no <kim.falster@constructive.no>


Alexander,

Thanks for the update! Looking very promising!

Med vennlig hilsen

Thor Arne Kleppan
Faglig leder
BArch AADipl (Hons) MNAL




Rådhusgaten 27
0158 Oslo

T +47 22403740
M +47 92080748




From: Alexander Green [mailto:alex@symmetrylabs.com]
Sent: 4. desember 2018 20:04
To: Thor Arne Kleppan <tak@nsw.no>
Cc: Aaron Oppenheimer <aaron@symmetrylabs.com>; Erik Bøhler <erik.bohler@scd.no>; Ysiad Ferreiras

                                                  1
                Case 6:14-cr-06038-EAW-JWF Document 396-4 Filed 01/22/19 Page 3 of 10
<ysiad@symmetrylabs.com>; kim.falster@constructive.no
Subject: Re: Tree of Tènèrè

Hi Thor Arne,

I am happy to report that the test tree for Oslo is going well. It has survived 6 months outdoors and 2 months of
rain, snow, and freezing rain.

Please keep in mind this is just an artist’s proof and is much smaller and less sophisticated sculpturally from the
real tree, in order to be efficient and minimize R&D costs we kept this one simple and small.

https://vimeo.com/303956582/4aeda66784




                                                         2
Case 6:14-cr-06038-EAW-JWF Document 396-4 Filed 01/22/19 Page 4 of 10




                          3
              Case 6:14-cr-06038-EAW-JWF Document 396-4 Filed 01/22/19 Page 5 of 10
Cheers!

Alex Green

On Wed, Nov 28, 2018 at 1:55 AM Thor Arne Kleppan <tak@nsw.no> wrote:

Alexander,

Thank you for your reply, and link to images!

Med vennlig hilsen

Thor Arne Kleppan
Faglig leder
BArch AADipl (Hons) MNAL




Rådhusgaten 27
0158 Oslo

T +47 22403740
M +47 92080748




From: Alexander Green [mailto:alex@symmetrylabs.com]
Sent: 28. november 2018 07:05
To: Thor Arne Kleppan <tak@nsw.no>
Cc: Aaron Oppenheimer <aaron@symmetrylabs.com>; Ysiad Ferreiras <ysiad@symmetrylabs.com>; Erik
Bøhler <erik.bohler@scd.no>; kim.falster@constructive.no


Subject: Re: Tree of Tènèrè

Just reminding you of my earlier email. A high-resolution image like the one on the front page of the
Oslo Reference Manual will be sufficient for our visual representation. Ideally, this should be an image
without a background (in Photoshop)

Apologies for the delay in responding. Do you need a render of the tree or a picture of the Tree of Tenere?

High Quality pictures of the tree of tenere can be found here:

https://www.dropbox.com/sh/kkjnduytf6chs7w/AABgIIQfVNKQh0jFDKPF0fT2a?dl=0

Here are some video renders, I will get you stills soon.

https://vimeo.com/278204977/499f762c9b

                                                           4
              Case 6:14-cr-06038-EAW-JWF Document 396-4 Filed 01/22/19 Page 6 of 10
https://vimeo.com/284807677/ba351e1d24

https://drive.google.com/file/d/1K6FSMAPY30p81biAUhexs080Dj6MCiWY/view?usp=sharing

Another few questions: Is the three climbable? Is the trunk tall enough to prevent climbing? Does the
bark have a materiality that prevents climbing?

The tree will not be climbable. The lowest branches will be too high up. If someone brought a high ladder, they
would be able to reach the first branch, but it will be 4 meters or so high, well out of reach without equipment.
The bark is not designed to prevent climbing per se but is not very easy to climb either. It will be safe to climb,
in the sense that it is engineered to hold a lot more weight than a person, but it is not intended to be climbed by
the public for obvious reasons. I figured it would be a liability and a safety concern if it was climbable.

Images of the three show a base. It is your intension that the three should have a base, or could it be
placed with a sunken foundation replicating a real three? Is the base a part of the artwork?

Ignore this, the base would be necessary if we could not bury the base and had to drill into concrete. We can
bury the base. I think it will look nicer if the tree is growing out of the ground naturally.

The three of Ténéré is obviously the isolated three in the desert. In Oslo, this will not be the case. Is it of
vital importance that the three stands in solitude, or can there be other threes around? It will obviously
be difficult to replicate the desert in Oslo.

There can be trees around! It would be nice if the tree could be in the middle of an open field so people could
walk around it and see it from all sides. But it does not need to be in a desert or anything like that!

I would appreciate to hear more about your intensions.

I am hoping the tree can be part of public life, change with the seasons, perhaps even responding to the
weather, and occasionally be part of concerts and performances. I hope it can be a beacon for Oslo and a
landmark and something loved by residents and tourists alike.

Sincerely,

Alexander Green

On Tue, Nov 27, 2018 at 11:06 AM Thor Arne Kleppan <tak@nsw.no> wrote:

 Dear Alexander,

 Just reminding you of my earlier email. A high-resolution image like the one on the front page of the Oslo
 Reference Manual will be sufficient for our visual representation. Ideally, this should be an image without a
 background (in Photoshop)

 Another few questions: Is the three climbable? Is the trunk tall enough to prevent climbing? Does the bark
 have a materiality that prevents climbing?

 Images of the three show a base. It is your intension that the three should have a base, or could it be placed
 with a sunken foundation replicating a real three? Is the base a part of the artwork?


                                                        5
             Case 6:14-cr-06038-EAW-JWF Document 396-4 Filed 01/22/19 Page 7 of 10
The three of Ténéré is obviously the isolated three in the desert. In Oslo, this will not be the case. Is it of vital
importance that the three stands in solitude, or can there be other threes around? It will obviously be difficult
to replicate the desert in Oslo.

I would appreciate to hear more about your intensions.

Med vennlig hilsen

Thor Arne Kleppan
Faglig leder
BArch AADipl (Hons) MNAL

Rådhusgaten 27
0158 Oslo

T +47 22403740
M +47 92080748



From: Thor Arne Kleppan
Sent: 22. november 2018 15:58
To: 'Alexander Green' <alex@symmetrylabs.com>; Aaron Oppenheimer <aaron@symmetrylabs.com>;
Ysiad Ferreiras <ysiad@symmetrylabs.com>
Cc: Erik Bøhler <erik.bohler@scd.no>; kim.falster@constructive.no
Subject: RE: Tree of Tènèrè

Dear Alexander,

We are doing some visuals of possible locations of the Oslo tree.

Do you have a high resolution image of the tree without background?

Med vennlig hilsen

Thor Arne Kleppan
Faglig leder
BArch AADipl (Hons) MNAL

Rådhusgaten 27
0158 Oslo

T +47 22403740
M +47 92080748



From: Alexander Green [mailto:alex@symmetrylabs.com]
Sent: 15. november 2018 18:32
To: Aaron Oppenheimer <aaron@symmetrylabs.com>; Thor Arne Kleppan <tak@nsw.no>; Ysiad Ferreiras
                                                         6
              Case 6:14-cr-06038-EAW-JWF Document 396-4 Filed 01/22/19 Page 8 of 10
<ysiad@symmetrylabs.com>
Cc: Erik Bøhler <erik.bohler@scd.no>; kim.falster@constructive.no
Subject: Re: Tree of Tènèrè

Dear Thor Arne,

Just checking in on the latest here, please let me know if you need any further information from me.

Cheers,

Alexander Green

On Sun, Nov 4, 2018 at 11:13 PM Thor Arne Kleppan <tak@nsw.no> wrote:

 Dear Alexander,

 Thank for the information.

 My guess would be that a deeper concrete foundation would be more suitable, due to ground frost during
 winter. We usually need to frost proof foundations down to about 1m. This is for the engineer to evaluate. I
 will get back to you on this one.

 Yours sincerely

 Thor Arne Kleppan
 Partner, Architectural Diredtor
 BArch AADipl (Hons) MNAL

 Rådhusgaten 27
 0158 Oslo

 T +47 22403740
 M +47 92080748



 From: Alexander Green [mailto:alex@symmetrylabs.com]
 Sent: 4. november 2018 17:44
 To: Thor Arne Kleppan <tak@nsw.no>
 Cc: kim.falster@constructive.no; Erik Bøhler <erik.bohler@scd.no>
 Subject: Re: Tree of Tènèrè

 Dear Thor,

 That is thrilling news to hear of the placement. I am honored and excited to have the artwork placed in Oslo,
 as is the entire team.

 I attached a document describing some of the key features of the tree you asked for. The tree is being
 custom-built for Oslo and the dimensions can be somewhat customized if necessary. I will send video of the
 Artist's Proof of this tree soon, which has been placed in Rochester NY for weather testing, and will be up
 until January. It is substantially smaller than the real tree but should give a sense of how the real tree will
                                                       7
             Case 6:14-cr-06038-EAW-JWF Document 396-4 Filed 01/22/19 Page 9 of 10
look. The prototype has been successful and has withstood lots of rain and wind without major problems,
which is a significant engineering achievement as the tree pushes the boundaries of what is possible in
electro-mechanical sculpture.

Could you give precise dimensions: height, width? (in meters)

12 meters by 12 meters

What is the weight? (in kg)

26,000 KG

Does the piece have a foundation/base? How is it to be mounted/fixed? Do you have measured
drawings for the base/foundation? Are there given fixing points?

Yes, depending on whether the tree is being placed on grass or concrete we have different base designs. I
assumed it will be placed on grass, in which case two large linear pieces of steel will be buried in the grass.
We have many base designs that could work, we are happy to discuss them at your convenience. We can also
pour concrete.

Electrical supply – what is needed?

We would like 100 kW at 220V please. We will not draw that much normally, that is just the absolute
maximum we would need.

Sincerely,

Alexander Green

Artist and Founder

Symmetry Labs .

On Tue, Oct 30, 2018 at 4:15 AM Thor Arne Kleppan <tak@nsw.no> wrote:

 Hi Alex,

 I am writing with regards to the Tree of Tènèrè. The tree is to be positioned in Oslo, close to the City Hall.
 For the planning of this, we need some technical information about the piece.

 Could you give precise dimensions: height, width? (in meters)

 What is the weight? (in kg)

 Does the piece have a foundation/base? How is it to be mounted/fixed? Do you have measured drawings for
 the base/foundation? Are there given fixing points?

 Electrical supply – what is needed?

 I would also appreciate any drawings/sketches/ photos.

                                                      8
              Case 6:14-cr-06038-EAW-JWF Document 396-4 Filed 01/22/19 Page 10 of 10
     Looking forward to receive the information.

     Med vennlig hilsen

     Thor Arne Kleppan
     Faglig leder
     BArch AADipl (Hons) MNAL

     Rådhusgaten 27
     0158 Oslo

     T +47 22403740
     M +47 92080748



 --

 Sent from Gmail Mobile

--

Sent from Gmail Mobile




                                                   9
